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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                  ENTERED
                                                                                  May 19, 2017
                        UNITED STATES DISTRICT COURT
                                                                             David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

STARR COUNTY, TX, ET AL         §
(&QUOTTAXING                    §
AUTHORITIES&QUOT), et al,       §
                                §
       Petitioners,             §
VS.                             § CRIMINAL ACTION NO. 2:12-CR-418-4
                                § CIVIL NO. 2:15-515
JESUS GREGORIO LOPEZ; aka GOYO, §
                                §
       Defendants.              §

                      MEMORANDUM OPINION & ORDER

       Pending before the Court is Defendant/Movant Jesus Gregorio Lopez’s “Holloway

Motion,” whereby he moves the Court for a reduction in his sentence (D.E. 907).

I. Background

       In May 2012, Movant and eleven others were indicted for conspiracy with intent

to distribute more than 1,000 kilograms of marijuana in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(A), and 846. Movant was convicted by a jury and sentenced to 292

months’ imprisonment, to be followed by 5 years’ supervised release. He appealed, and

his conviction and sentence were affirmed on September 24, 2014. He then filed a motion

to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255, which the Court

denied with prejudice by Memorandum Opinion & Order and Final Judgment entered

December 19, 2016. D.E. 896, 897.

       Movant now moves the Court to reduce his sentence to 121 months under

Holloway v. United States, 68 F. Supp. 3d 310 (E.D.N.Y. 2014). Specifically, he seeks a

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two-level reduction for acceptance of responsibility and a “four-level reduction for minor

role”, which he claims would yield a new advisory guideline range of 121–151 months’

imprisonment.1 He further urges the Court to reconsider the 18 U.S.C. § 3553(a)

sentencing factors and has submitted several letters in support that he previously offered

into evidence at sentencing.

II. Analysis

         The relief Movant seeks is available, if at all, pursuant to a motion to vacate, set

aside, or correct sentence under 28 U.S.C. § 2255. Because his present motion was filed

after a previous § 2255 motion, it is a second or successive motion.

         In pertinent part, 28 U.S.C. § 2255(h) provides:

         A second or successive motion must be certified as provided in section
         2244 by a panel of the appropriate court of appeals to contain –

         (1) newly discovered evidence that, if proven and viewed in light of the
         evidence as a whole, would be sufficient to establish by clear and
         convincing evidence that no reasonable factfinder would have found the
         movant guilty of the offense; or

         (2) a new rule of constitutional law, made retroactive to cases on collateral
         review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h).

         Where a claim is second or successive, the movant is required to seek, and

acquire, the approval of the Fifth Circuit before filing a second § 2255 motion before this

Court. See Tolliver v. Dobre, 211 F.3d 876, 877 (5th Cir. 2000); 28 U.S.C. § 2244

(b)(3)(A) (“Before a second or successive application permitted by this section is filed in

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          . Movant’s total offense level was 40, with a criminal history category of I. A six-level reduction would
yield a new guideline range of 151–188 months.
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the district court, the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application.”).

       Movant’s motion does not indicate that he has sought or obtained permission from

the Fifth Circuit to file the present motion. Until he does so, this Court does not have

jurisdiction over the motion.

III. Certificate of Appealability

       An appeal may not be taken to the court of appeals from a final order in a habeas

corpus proceeding “unless a circuit justice or judge issues a certificate of appealability.”

28 U.S.C. § 2253(c) (1)(A). Although Movant has not yet filed a notice of appeal, this

Court nonetheless addresses whether he would be entitled to a certificate of appealability

(COA). See Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (a district court may

sua sponte rule on a COA because “the district court that denies a petitioner relief is in

the best position to determine whether the petitioner has made a substantial showing of a

denial of a constitutional right on the issues before that court. Further briefing and

argument on the very issues the court has just ruled on would be repetitious.”).

       A COA “may issue . . . only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under

§ 2253(c) requires an overview of the claims in the habeas petition and a general

assessment of their merits.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003). To warrant a

grant of the certificate as to claims denied on their merits, “[t]he petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000).
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As to claims that the district court rejects solely on procedural grounds, the movant must

show both that “jurists of reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and that jurists of reason would find it

debatable whether the district court was correct in its procedural ruling.” Id.

       Based on the above standards, the Court concludes that Movant is not entitled to a

COA—that is, reasonable jurists could not debate the Court’s resolution of his claims.

IV. Conclusion

       For the foregoing reasons, Movant’s “Holloway Motion” (D.E. 907) is DENIED.

Additionally, Movant is DENIED a Certificate of Appealability.

       ORDERED this 19th day of May, 2017.

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                                              NELVA GONZALES RAMOS
                                              UNITED STATES DISTRICT JUDGE




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